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                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                :

     v.                                  :        CRIMINAL NO. 3:17-324

 FAIZAL BHIMANI, OM SRI, INC.,           :          (JUDGE MANNION)
 NAZIM HASSAM, and POCONO
 PLAZA INN f/k/a QUALITY INN,            :

              Defendants                 :

                                  ORDER
 For the reasons set forth in the Memorandum of this date, IT IS HEREBY

 ORDERED THAT:

       The government’s motion in limine, (Doc. 125), is GRANTED IN PART

and DENIED IN PART, as discussed in the Memorandum. The court will

allow the government to admit at trial the video recorded post-arrest

statement of Faizal Bhimani, as redacted, against the two entity defendants.

A determination of the portions of Bhimani’s statement that implicate

Hassam in criminal activity and that are incriminating against Hassam on

their face will not be made until after the government’s evidence is presented

at the trial.

                                             s/ Malachy E. Mannion
                                             MALACHY E. MANNION
                                             United States District Judge
DATE: October 2, 2020
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